

P.F.J. Ltd. v Marrache (2022 NY Slip Op 00820)





P.F.J. Ltd. v Marrache


2022 NY Slip Op 00820


Decided on February 08, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 08, 2022

Before: Renwick, J.P., Mazzarelli, Friedman, Singh, Pitt, JJ. 


Index No. 100633/12 Appeal No. 15252 Case No. 2021-03491 

[*1]P.F.J. Ltd., Plaintiff,
vUriel Marrache, Defendant-Appellant. DB Mortgage LLC, Assignee-Respondent.


Hegge &amp; Confusione, LLC, New York (Michael Confusione of counsel), for appellant.
White and Williams LLP, New York (Thomas E. Butler of counsel), for respondent.



Order, Supreme Court, New York County (Shlomo S. Hagler, J.), entered December 29, 2020, which denied defendant's motions to vacate a default judgment, unanimously affirmed, without costs.
Supreme Court providently exercised its discretion in concluding that more than eight years was an unreasonable amount of time for defendant to wait before moving to vacate the default judgment against him. Moreover, the court correctly concluded that the guaranty upon which defendant was sued did not limit his liability to $10,000 but provided that his liability for the tenant's rent obligations was limited to the period when the tenant remained in possession and, if the requisite notice of surrender was provided, to $10,000 upon surrender of the premises. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 8, 2022








